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                   UNITED STATES COURT OF INTERNATIONAL TRADE



CYBER POWER SYSTEMS (USA) INC.,

                        Plaintiff,
                                                       Before: Leo M. Gordon, Judge
              v.

UNITED STATES,                                         Court No. 20-00124

                        Defendant.



                                         ORDER

       Upon consideration of Plaintiff’s motion in limine to preclude the direct testimony

of National Import Specialist Karl Moosbrugger, ECF No. 111, Defendant’s response

thereto, ECF No. 126, and all other papers and proceedings in this action; and upon due

deliberation, it is hereby

       ORDERED that Plaintiff’s motion is denied; and it is further

       ORDERED that Mr. Karl Moosbrugger shall be permitted to present direct

testimony on behalf of Defendant at trial.




                                                                /s/ Leo M. Gordon
                                                             Judge Leo M. Gordon



Dated: August 4, 2022
       New York, New York
